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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
MILTON E. McGREGOR,                )           (WO)
THOMAS E. COKER,                   )
LARRY P. MEANS,                    )
JAMES E. PREUITT,                  )
HARRI ANNE H. SMITH,               )
JARRELL W. WALKER, JR.,            )
and JOSEPH R. CROSBY               )

                                ORDER

    It is ORDERED that counsel for the parties should be

prepared to address the following matters at the pretrial

conference on January 4, 2012:

    (1) The government’s motion and memorandum of law

regarding jury selection procedure (Doc. No. 2015); and

    (2) The joint report on unresolved objections to

exhibits, motions in limine, and stipulations (Doc. No.

2072).

    DONE, this the 30th day of December, 2011.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
